                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )         COLLIER/CARTER
                                              )
        v.                                    )         CASE NO. 1:12-CR-116
                                              )
 CARL EUGENE HUNT                             )



                                            ORDER

        On April 9, 2013, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

 the Second Superseding Indictment in exchange for the undertakings made by the government in

 the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in

 Count One of the Second Superseding Indictment; (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Court File No. 115). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to Count One of the Second Superseding Indictment, in

 exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Second Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;




Case 1:12-cr-00116-TRM-CHS           Document 153       Filed 04/30/13      Page 1 of 2     PageID
                                           #: 455
 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday, July

 25, 2013 at 9:00 am.

        SO ORDERED.

        ENTER:
                                      /s/                       ___
                                      CURTIS L. COLLIER
                                      UNITED STATES DISTRICT JUDGE




Case 1:12-cr-00116-TRM-CHS     Document 153    Filed 04/30/13   Page 2 of 2   PageID
                                     #: 456
